          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                        CRIMINAL CASE NO. 3:08cr10


UNITED STATES OF AMERICA,                 )
                                          )
                                          )
                  vs.                     )            ORDER
                                          )
                                          )
ROSWELL BOWMAN.                           )
                                          )


      THIS MATTER is before the Court sua sponte to continue the case.

      On January 23, 2008, the Defendant was indicted in a seven-count

bill of indictment and charged with one count of conspiracy to distribute

and possess with intent to distribute crack cocaine, in violation of 21 U.S.C.

§§ 846 and 841(b)(1)(A); one count of possession with intent to distribute

50 grams or more of crack cocaine, in violation of 21 U.S.C. §§ 846 and

841(b)(1)(A) and 18 U.S.C. § 2; one count of possession with intent to

distribute five grams or more of crack cocaine, in violation of 21 U.S.C. §

841(a)(1) and 841(b)(1)(B); two counts of possession of a firearm in

furtherance of a drug trafficking crime, in violation of 18 U.S.C. § 924(c);

and two counts of being a felon in possession of a firearm, in violation of




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18 U.S.C. § 922(g)(1). An arrest warrant was issued. The Defendant’s

initial appearance was on January 29, 2008 at which time counsel was

appointed. The Defendant’s arraignment was on February 4, 2008, at

which time his case was placed on the February 11, 2008 calendar for trial.

      "Unless the defendant consents in writing to the contrary, the trial

shall not commence less than thirty days from the date on which the

defendant first appears through counsel or expressly waives counsel and

elects to proceed pro se." 18 U.S.C. §3161(c)(2). The Defendant here

has not so consented and thus, his trial may not start less than thirty days

from his appearance with counsel.

      In addition, the Court finds that counsel would not have an adequate

opportunity to prepare for trial, taking into account the exercise of due

diligence. The Court therefore finds that a failure to grant the continuance

"would unreasonably deny the defendant . . . the reasonable time

necessary for effective preparation, taking into account the exercise of due

diligence." 18 U.S.C. §3161(h)(8)(B)(iv).

      For the reasons stated herein, the ends of justice served by the

granting of the continuance outweigh the best interests of the public and

the defendant in a speedy trial. 18 U.S.C. §3161(h)(8)(A).




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     IT IS, THEREFORE, ORDERED that the above-captioned case is

CONTINUED from the February 11, 2008 term in the Charlotte Division.



                                    Signed: February 4, 2008




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